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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    RICHARD DIAZ,                              Case No. 8:19-cv-02499-CJC-MAA
  12                       Petitioner,             ORDER ACCEPTING REPORT
  13          v.                                   AND RECOMMENDATION OF
                                                   UNITED STATES MAGISTRATE
  14    JOHNSON, Warden,                           JUDGE
  15                       Respondent.
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
  18   records on file herein, and the Report and Recommendation of the United States
  19   Magistrate Judge.
  20         The time for filing objections has expired, and no objections have been made.
  21         IT THEREFORE IS ORDERED that (1) the Report and Recommendation of
  22   the Magistrate Judge is accepted; and (2) Judgment shall be entered denying the
  23   Petition and dismissing this action with prejudice.
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  25   DATED: November 24, 2021
  26                                          ___________________________________
  27                                          CORMAC J. CARNEY
                                              UNITED STATES DISTRICT JUDGE
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